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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

YAKOV ELIZAROV,
                                                   Case No. 16-13285
                     Plaintiff,
                                                   Paul D. Borman
v.                                                 United States District Judge

EQUITY EXPERTS LLC,                                Stephanie Dawkins Davis
                                                   United States Magistrate Judge
               Defendant.
_____________________________/

                                  JUDGMENT

     For the reasons stated in the Court’s Opinion and Order issued on today’s date,

it is ORDERED and ADJUDGED that Plaintiff’s Motion for Summary Judgment is

DENIED, Defendant’s Motion for Summary Judgment is GRANTED, and this case

is DISMISSED WITH PREJUDICE.

     IT IS SO ORDERED.

                                            s/Paul D. Borman
                                            Paul D. Borman
                                            United States District Judge
Dated: May 9, 2018
